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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 INTERMOUNTAIN FAIR HOUSING
 COUNCIL,                                         Case No. CV 3:10-284-REB

                      Plaintiff,                  ORDER

        v.

 RAFTER SQUARE, L.L.C.

                      Defendant.


       The parties consented to proceed before a United States Magistrate Judge, see Dkt.

No. 19, and agreed to settle their dispute in accordance with the following terms and

conditions, see Dkt. No. 22. Accordingly, the Court adopts the parties’ agreement in its

entirety and enters the following order with one small clarification. To the extent a party

seeks to enforce the order pursuant to the “Change in Policy” outlined below, the Court

will require a showing that the alleged violation of the Fair Housing Act, 42 U.S.C. §3601

et seq., is somehow connected to the instant lawsuit.

                                   I. INTRODUCTION

A.     Background

       1. This Consent Order is entered between the Plaintiff Intermountain Fair Housing

Council and the Defendant Rafter Square, L.L.C.




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       2. The real property that is the subject of this action is the Hillcrest Apartments

located at 501 Airway Avenue, Lewiston, Nez Perce County, Idaho 83501 (hereinafter

“the Subject Property”).

       3. In this action, the Plaintiff alleges that violations occurred at the Subject

Property on the following bases: Count One—Discrimination on the Basis of “Handicap”

in violation of the Fair Housing Act, 42 U.S.C. § 3601 et seq.; and Count

Two—Negligence.

B.     Parties

       1. The Plaintiff is a nonprofit organization organized under the laws of the State of

Idaho with its principal place of business at 350 North 9th Street, Suite M-100, Boise,

Idaho 83702. Its mission is to advance equal access to housing for all persons without

regard to race, color, sex, religion, national origin, familial status, or disability, and to

increase the pool of accessible housing available to the disabled. The Plaintiff serves

persons with disabilities through, among other things, education on the fair housing laws,

assistance with complaints, and referrals to accessible properties. The Plaintiff also

provides education and outreach on fair housing laws and practices to housing consumers,

housing providers, builders, architects, and others. The Plaintiff is seeking relief on

behalf of itself as well as the other named victim, Teresa Jansen, identified in the Verified

Complaint and Demand for Jury Trial (Doc. 1) as “T.J.”.




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      2. The Defendant is a business organized under the laws and doing business in the

State of Washington. Its principal place of business is 2338 Florance Lane, Clarkston,

Washington 99403. The Defendant is the owner of the Subject Property.

C.    Relevant Legal Requirements

      1. The portions of the Fair Housing Act and its implementing regulations relevant

to Count One prohibit the following:

             a. Discrimination in the sale or rental of, and otherwise made unavailable

      and denied, a dwelling on the basis of “handicap”. 42 U.S.C. §3604(f)(1).

             b. Discrimination in the terms, conditions and privileges of the sale or

      rental of a dwelling, and the services and facilities in connection therewith, on the

      basis of “handicap”. 42 U.S.C. §3604(f)(2).

             c. Refusal to make reasonable accommodations in rules, policies, practices,

      or services, when such accommodations may be necessary to afford a person equal

      opportunity to use and enjoy a dwelling. 42 U.S.C. §3604(f)(3)(B).

             d. Making, printing or publishing a notice or statement with respect to the

      sale or rental of a dwelling that indicates a preference, limitation or discrimination

      based on “handicap”. 42 U.S.C. §3604(c).

             e. Interference, coercion or intimidation in the exercise or enjoyment of

      rights granted by 42 U.S.C. §§3603 and 3604.




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              f. Making impermissible inquires into the nature or severity of an

       applicant’s disability. 24 C.F.R. §100.202(c).

       2. Count Two is based upon common law negligence.

D.     Consent of the Parties to Entry of this Order

       1. The parties to this proceeding agree that this Court has jurisdiction over the

subject matter of this case pursuant to 42 U.S.C. §3613 and 28 U.S.C. §§1331, 1332,

1337, 1343 and 2201.

       2. The parties further agree that this controversy should be resolved without

further proceedings and without an evidentiary hearing.

       3. The parties further agree that Teresa Jansen, the other named victim herein, is

disabled (this term is used interchangeably with “handicapped”) pursuant to 42 U.S.C.

§§416, 423 and 3602, and those statutes’ implementing regulations.

       4. The Defendant denies that it has violated the law, and this Consent Order does

not constitute any admission of liability on the part of the Defendant.

       5. As indicated by the signatures appearing below, the parties hereto agree to the

terms set forth herein and to the entry of this Consent Order by the Court.

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:

A.     Monetary Damages.

       The Defendant will pay the total sum of THIRTEEN THOUSAND SEVEN

HUNDRED AND FIFTY DOLLARS ($13,750.00) in monetary damages as follows:




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         1. The sum of TEN THOUSAND TWO HUNDRED FIFTY DOLLARS

($10,250.00) to the Plaintiff Intermountain Fair Housing Council on or before the 1st day

of February, 2011; and

         2. The sum of THREE THOUSAND FIVE HUNDRED DOLLARS ($3,500.00)

to Teresa Jansen on or before the 1st day of February, 2011.

B.       Fair Housing Education.

         The Defendant’s owners shall complete a training course regarding the

requirements of the Fair Housing Act within nine months of the entry of this Consent

Order. Said training course shall be provided by the Plaintiff at no cost to the Defendant

and shall consist of no less than two hours of training time.

C.       Change of Policy.

         The Defendant shall operate in compliance with the requirements of the Fair

Housing Act, 42 U.S.C. §3601 et seq.

D.       Duration of Order and Termination of Legal Action

         1. This Consent Order shall remain in effect for one (1) year after the date of its

entry.

         2. The Verified Complaint and Demand for Jury Trial (Doc. 1) filed in this

proceeding is dismissed with prejudice. The Court, however, shall retain jurisdiction for

the term of this Consent Order to enforce the terms of this Order.




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       E. ATTORNEY’S FEES AND COSTS. Each party hereto shall bear its own

attorney’s fees and costs associated with this action.

IT IS SO ORDERED.

                                   DATED: January 25, 2011




                                   Honorable Ronald E. Bush
                                   U. S. Magistrate Judge


           AGREED TO BY THE PARTIES AND THEIR RESPECTIVE
       ATTORNEYS AS INDICATED BY THEIR SIGNATURES APPEARING
       BELOW:


       INTERMOUNTAIN FAIR HOUSING COUNCIL:


       By: _______________/s/_______________________
           Richard Mabbutt
           Executive Director
           Intermountain Fair Housing Council


       __________________/s/________________________
       KEN NAGY
       Attorney at Law
       Attorney for Plaintiff




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     RAFTER SQUARE, L.L.C.:


     By: _______________/s/_______________________
         Tammy Poole
         Member
         Rafter Square, L.L.C.


     __________________/s/________________________
     BENTLEY STROMBERG
     Clements, Brown & McNichols
     Attorney for Defendant




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